Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 1 of 15




            EXHIBIT C
    Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 2 of 15




                 UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA
                    SAN FRANCISCO DIVISION




ORACLE AMERICA, INC.                  Case No. 3:10-cv-03561-WHA




                Plaintiff,

               v.

GOOGLE INC.

                Defendant.



               EXPERT REPORT OF DAVID I. AUGUST, PH.D.
      REGARDING THE NON-INFRINGEMENT OF U.S. PATENT NO. 6,910,205
          Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 3 of 15




                    In other words, Dr. Mitchell does not and cannot explain how the cited materials
                    demonstrate that the Android JIT reads on Asserted Claims 1, 2, 3 and 8.

                b. Second, in addition to the above failure, it should also be evident that the Android
                    JIT works in a manner very different than the technique described in the ‘205
                    patent and Asserted Claims. Some key distinctions with respect to the Android
                    JIT are:

                          i. No Dalvik VM instruction is ever new or generated at runtime;

                         ii. No existing Dalvik VM instruction is ever altered or replaced;

                        iii. Dalvik VM instructions do not represent or reference native machine
                              instructions – instead, the Dalvik VM itself keeps track of any native
                              machine instructions; and

                        iv. No new Dalvik VM instruction is ever executed instead of some original
                              Dalvik VM instruction.

F.         Claim 1 of the ‘205 patent (Inline/dexopt Allegations)4

           199.     Having addressed the Asserted Claims with respect to the JIT compiler
functionality, I now address the same Asserted Claims but with respect to the dexopt
functionality, which the Mitchell Patent Report generally refers to as the inline implementation.

           200.     Again, claim 1 of the ‘205 patent reads:

                    [Preamble] In a computer system, a method for increasing the
                    execution speed of virtual machine instructions at runtime, the
                    method comprising:
                    [1-a] receiving a first virtual machine instruction;
                    [1-b] generating, at runtime, a new virtual machine instruction
                    that represents or references one or more native instructions that
                    can be executed instead of said first virtual machine instruction;
                    and
                    [1-c] executing said new virtual machine instruction instead of
                    said first virtual machine instruction.


4
    Citations to code in this section are from verision 2.2 (Froyo) as of June 27, 2010.



                                                             56
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 4 of 15




       201.    Google does not infringe claim 1 of the ‘205 patent because limitations of this
claim are not found in Android.

       202.    With respect to claim limitation 1-b, dexopt does not process virtual machine
instructions at runtime as required in the claim, but rather at installation time. See dexopt.html
(“[t]he system installer does it when an application is first added.”)

       203.    In ¶ 400, Dr. Mitchell states “Android uses the Dalvik virtual machine to execute
virtual machine bytecode instructions at runtime. The Dalvik virtual machine – and here dexopt
in particular – performs and runs code resulting from certain optimizations to increase the
execution speed of virtual machine instructions at runtime.” This is misleading.

       204.    The Dalvik virtual machine executes virtual machine instructions. However, the
dexopt routine is not performed by a process that runs applications since that would interfere
with its execution by allocating resources that are difficult to release. (See dexopt.html.)
Instead, dexopt prepares and installs a DEX file for execution before the Dalvik virtual machine
is able to run the installed code. In particular, dexopt starts up, completes preparation of the
DEX file, installs the ODEX file, and exits – all prior to execution. (See dexopt.html.)

/docs/dexopt.html


Preparation

There are at least three different ways to create a "prepared" DEX file, sometimes known as
"ODEX" (for Optimized DEX):

There are at least three different ways to create a "prepared" DEX file, sometimes known as
"ODEX" (for Optimized DEX):

     1. The VM does it "just in time". The output goes into a special dalvik-cache directory.
      This works on the desktop and engineering-only device builds where the permissions on
      the dalvik-cache directory are not restricted. On production devices, this is not
      allowed.
     2. The system installer does it when an application is first added. It has the privileges
      required to write to dalvik-cache.
     3. The build system does it ahead of time. The relevant jar / apk files are present, but the
      classes.dex is stripped out. The optimized DEX is stored next to the original zip
      archive, not in dalvik-cache, and is part of the system image.

The dalvik-cache directory is more accurately $ANDROID_DATA/data/dalvik-cache.


                                                 57
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 5 of 15




The files inside it have names derived from the full path of the source DEX. On the device the
directory is owned by system / system and has 0771 permissions, and the optimized DEX files
stored there are owned by system and the application's group, with 0644 permissions. DRM-
locked applications will use 640 permissions to prevent other user applications from examining
them. The bottom line is that you can read your own DEX file and those of most other
applications, but you cannot create, modify, or remove them.

….

dexopt

We want to verify and optimize all of the classes in the DEX file. The easiest and safest way to
do this is to load all of the classes into the VM and run through them. Anything that fails to load
is simply not verified or optimized. Unfortunately, this can cause allocation of some resources
that are difficult to release (e.g. loading of native shared libraries), so we don't want to do it in
the same virtual machine that we're running applications in.

The solution is to invoke a program called dexopt, which is really just a back door into the VM.
It performs an abbreviated VM initialization, loads zero or more DEX files from the bootstrap
class path, and then sets about verifying and optimizing whatever it can from the target DEX.
On completion, the process exits, freeing all resources.

It is possible for multiple VMs to want the same DEX file at the same time. File locking is used
to ensure that dexopt is only run once.

       205.    The document cited above notes that dexopt may be used at “just-in-time,” but
only “on the desktop and engineering-only device builds where the permissions on the dalvik-
cache directory are not restricted. On production devices, this is not allowed.” (Id.)

       206.    The Dexopt.html document reinforces this concept, noting that “[t]he goals [of the
Dalvik virtual machine] led us to make some fundamental decisions: … Optimizations that
require rewriting bytecode must be done ahead of time.” (Id. (emphasis added).)

       207.    The Mitchell Patent Report quotes from this same document in seeking to
demonstrate that dexopt works at “run-time,” and suspiciously fails to acknowledge or cite these
portions of the document.

       208.    Oracle’s contentions that run-time is “during execution of the virtual machine”
also conflicts with Dr. Mitchell’s report. (See ¶ 102.) Under this construction and the ordinary
meaning, dexopt is not performed at runtime. As described above, dexopt exits before the



                                                  58
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 6 of 15




Dalvik virtual machine actually executes the processed virtual machine instructions. (See
dexopt.html.)

       209.     The dexopt process compiles an entire method before it is executed. See Mitchell
Patent Report at ¶ 248 concerning allegations in regard to the ‘104 patent (“dexopt
OptimizeMethod looks at every instruction in a method…”); see also id. at ¶ 249:

                The method optimizeMethod excerpted below “[o]ptimize[s]
                instructions in a method” and “does a single pass through the code,
                examining each instruction” as the Android developer comments
                indicate.”

See also id. at ¶ 407: “The function optimizeMethod optimizes instructions in a method,
processing one virtual machine instruction at a time…” (emphasis is his). See also lines 1560 to
1680 in /vm/analysis/DexOptimize.c.

       210.     In ¶ 410, Dr. Mitchell states:




       211.     The positions Dr. Mitchell takes with respect to the ‘104 and ‘205 patents are
inconsistent.

       212.     If he is referring to the word “run”, he confuses the sequential processing of
classes dexopt compiles with the runtime of a program. The function referred to by this
documented description (reproduced below), shows that the description refers to sequentially
processing classes in the DEX file. Each class found is optimized by calling optimizeClass at
line 1522. The optimizeClass function does not execute the program in a DEX file.




                                                 59
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 7 of 15




  /vm/analysis/DexOptimize.c
     1486 /*
     1487 * Run through all classes that were successfully loaded from this DEX
     1488 * file and optimize their code sections.
     1489 */
     1490 static void optimizeLoadedClasses(DexFile* pDexFile)
     1491 {
     1492     u4 count = pDexFile->pHeader->classDefsSize;
     1493     u4 idx;
     1494     InlineSub* inlineSubs = NULL;
     1495
     1496     LOGV("DexOpt: +++ optimizing up to %d classes\n", count);
     1497     assert(gDvm.dexOptMode != OPTIMIZE_MODE_NONE);
     1498
     1499     inlineSubs = createInlineSubsTable();
     1500
     1501     for (idx = 0; idx < count; idx++) {
     1502         const DexClassDef* pClassDef;
     1503         const char* classDescriptor;
     1504         ClassObject* clazz;
     1505
     1506         pClassDef = dexGetClassDef(pDexFile, idx);
     1507         classDescriptor = dexStringByTypeIdx(pDexFile, pClassDef-
  >classIdx);
     1508
     1509         /* all classes are loaded into the bootstrap class loader */
     1510         clazz = dvmLookupClass(classDescriptor, NULL, false);
     1511         if (clazz != NULL) {
     1512             if ((pClassDef->accessFlags & CLASS_ISPREVERIFIED) == 0 &&
     1513                 gDvm.dexOptMode == OPTIMIZE_MODE_VERIFIED)
     1514             {
     1515                 LOGV("DexOpt: not optimizing '%s': not verified\n",
     1516                     classDescriptor);
     1517             } else if (clazz->pDvmDex->pDexFile != pDexFile) {
     1518                 /* shouldn't be here -- verifier should have caught */
     1519                 LOGD("DexOpt: not optimizing '%s': multiple definitions\n",
     1520                     classDescriptor);
     1521             } else {
     1522                 optimizeClass(clazz, inlineSubs);
     1523
     1524                 /* set the flag whether or not we actually did anything */
     1525                 ((DexClassDef*)pClassDef)->accessFlags |=
     1526                     CLASS_ISOPTIMIZED;
     1527             }
     1528         } else {
     1529             LOGV("DexOpt: not optimizing unavailable class '%s'\n",
     1530                 classDescriptor);
     1531         }
     1532     }
     1533
     1534     free(inlineSubs);
     1535 }



       213.    Dexopt cannot be running the code because the dexopt routine is performed on
bytecode instructions as they are stored in memory order (i.e., as they are stored in memory). By
contrast, during actual run-time, the Dalvik VM executes bytecode instructions as they are
visited in program order (i.e., the order in which the instructions are actually performed).



                                                 60
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 8 of 15




       214.    The accused dexopt process does not practice asserted claim 1 because dexopt is
not running during the execution of the virtual machine.

       215.    As explained above, Claim 1 describes that a “new” virtual machine instruction
be “generated” by the method “in a computer system.” All virtual machine instructions used by
dexopt have a defined meaning and behavior specified beforehand by the developers of the
Android system.

       216.    Claim 1 specifically requires that the virtual machine instruction be “new,” which
reinforces the concept that the virtual machine instruction does not have any defined meaning or
behavior before the application of the method; it is new in the sense that it is just then – as a
result of the application of the method – first defined by the generated code snippet in the cache.

       217.    There is no bytecode used in dexopt that is unassigned or without a defined
meaning before the execution of dexopt. Every Dalvik bytecode either has a defined meaning
and behavior before runtime or remains unused and illegal. (See ¶ 156.)

       218.    There are some replacements of virtual machine instructions in dexopt akin to the
prior art use quick instructions. But the “generated” and “new” limitations of Claim 1 (on which
Claim 2 depends) are separate and distinct from Claim 2’s requirement of overwriting an existing
virtual machine instruction, and as such are not simply describing a replacement of virtual
machine instructions.

       219.    In ¶ 413, Dr. Mitchel points to OP_EXECUTE_INLINE_RANGE as the new
opcode, but he fails to demonstrate that it is generated by dexopt. It is, in fact, not new, but a
previously existing bytecode with a predefined meaning and behavior.

       220.    The OP_EXECUTE_INLINE_RANGE opcode has a predefined meaning and
behavior. OP_EXECUTE_INLINE_RANGE executes a native method. (e.g.,
/vm/mterp/out/InterpAsm-armv4t.S, lines 7688-7714)

       221.    The methods called by OP_EXECUTE_INLINE_RANGE each have a predefined
meaning and behavior. These methods are fixed at development time and small in number.
They are String.charAt, String.compareTo, String.equals, String.indexOf (2 variants),
String.length, Math.abs (4 variants), Math.min, Math.max, Math.sqrt, Math.cos, Math.sin. These
are only methods available to dexopt for use with OP_EXECUTE_INLINE_RANGE. These


                                                  61
       Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 9 of 15




methods are listed in the gDVmInlineOpsTable (/vm/InlineNative.c, lines 628-678). These
methods are fixed for a given build of the Dalvik VM. In fact, lines 635-636 of
vm/InlineNative.c indicate that the Dalvik VM should receive a new DALVIK_VM_BUILD
number if this set of methods is changed by developers of the Dalvik VM.

       222.    The native code versions of the methods listed in gDVmInlineOpsTable
(/vm/InlineNative.c, lines 628-678) exist prior to the execution of dexopt (in fact, they exist at
the time the Dalvik VM is built).

       223.    Virtual machine instructions inserted by dexopt have a meaning and behavior
defined before dexopt runs. These virtual machine instructions used by dexopt contain the
OP_EXECUTE_INLINE_RANGE opcode, an opcode with a predefined meaning and behavior,
to call the gDVmInlineOpsTable list of methods, a predefined and fixed set of methods each with
a predefined meaning and behavior.

       224.    OP_EXECUTE_INLINE_RANGE is a quickened instruction. As described
above, quickened instructions are acknowledged by ‘205 to be prior art. (See ‘205 patent at
2:14-26.) OP_EXECUTE_INLINE_RANGE is used to call a method instead of the ordinary
(non-quickened) instructions OP_INVOKE_DIRECT_RANGE,
OP_INVOKE_STATIC_RANGE, or OP_INVOKE_VIRTUAL_RANGE. (See
/vm/analysis/DexOptimize.c comment at 2347 and assertion at 2366-2368)

vm/analysis/DexOptimize.c
   2345 /*
   2346 * See if the method being called can be rewritten as an inline operation.
   2347 * Works for invoke-virtual/range, invoke-direct/range, and invoke-
static/range.
   2348 *
   2349 * Returns "true" if we replace it.
   2350 */
   2351 static bool rewriteExecuteInlineRange(Method* method, u2* insns,
   2352     MethodType methodType, const InlineSub* inlineSubs)
   2353 {
   2354     ClassObject* clazz = method->clazz;
   2355     Method* calledMethod;
   2356     u2 methodIdx = insns[1];
   2357
   2358     calledMethod = dvmOptResolveMethod(clazz, methodIdx, methodType, NULL);
   2359     if (calledMethod == NULL) {
   2360         LOGV("+++ DexOpt inline/range: can't find %d\n", methodIdx);
   2361         return false;
   2362     }
   2363
   2364     while (inlineSubs->method != NULL) {
   2365         if (inlineSubs->method == calledMethod) {
   2366             assert((insns[0] & 0xff) == OP_INVOKE_DIRECT_RANGE ||



                                                 62
     Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 10 of 15



   2367                        (insns[0] & 0xff) == OP_INVOKE_STATIC_RANGE ||
   2368                        (insns[0] & 0xff) == OP_INVOKE_VIRTUAL_RANGE);
   2369                 insns[0] = (insns[0] & 0xff00) | (u2) OP_EXECUTE_INLINE_RANGE;
   2370                 insns[1] = (u2) inlineSubs->inlineIdx;
   2371
   2372                 //LOGI("DexOpt: execute-inline/range %s.%s --> %s.%s\n",
   2373                 //    method->clazz->descriptor, method->name,
   2374                 //    calledMethod->clazz->descriptor, calledMethod->name);
   2375                 return true;
   2376             }
   2377
   2378             inlineSubs++;
   2379       }
   2380
   2381       return false;
   2382 }
   2383


       225.       The authors of the Dalvik VM refer to the OP_EXECUTE_INLINE_RANGE as a
quickened instruction. See /vm/analysis/CodeVerify.c, lines 5407-5453:

   5382       /*
   5383        * Verifying "quickened" instructions is tricky, because we have
   5384        * discarded the original field/method information. The byte offsets
   5385        * and vtable indices only have meaning in the context of an object
   5386        * instance.
   5387        *
   5388        * If a piece of code declares a local reference variable, assigns
   5389        * null to it, and then issues a virtual method call on it, we
   5390        * cannot evaluate the method call during verification. This situation
   5391        * isn't hard to handle, since we know the call will always result in an
   5392        * NPE, and the arguments and return value don't matter. Any code that
   5393        * depends on the result of the method call is inaccessible, so the
   5394        * fact that we can't fully verify anything that comes after the bad
   5395        * call is not a problem.
   5396        *
   5397        * We must also consider the case of multiple code paths, only some of
   5398        * which involve a null reference. We can completely verify the method
   5399        * if we sidestep the results of executing with a null reference.
   5400        * For example, if on the first pass through the code we try to do a
   5401        * virtual method invocation through a null ref, we have to skip the
   5402        * method checks and have the method return a "wildcard" type (which
   5403        * merges with anything to become that other thing). The move-result
   5404        * will tell us if it's a reference, single-word numeric, or double-word
   5405        * value. We continue to perform the verification, and at the end of
   5406        * the function any invocations that were never fully exercised are
   5407        * marked as null-only.
   5408        *
   5409        * We would do something similar for the field accesses. The field's
   5410        * type, once known, can be used to recover the width of short integers.
   5411        * If the object reference was null, the field-get returns the "wildcard"
   5412        * type, which is acceptable for any operation.
   5413        */
   5414       case OP_EXECUTE_INLINE:
   5415       case OP_EXECUTE_INLINE_RANGE:
   5416       case OP_INVOKE_DIRECT_EMPTY:
   5417       case OP_IGET_QUICK:
   5418       case OP_IGET_WIDE_QUICK:
   5419       case OP_IGET_OBJECT_QUICK:
   5420       case OP_IPUT_QUICK:



                                              63
      Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 11 of 15



   5421       case OP_IPUT_WIDE_QUICK:
   5422       case OP_IPUT_OBJECT_QUICK:
   5423       case OP_INVOKE_VIRTUAL_QUICK:
   5424       case OP_INVOKE_VIRTUAL_QUICK_RANGE:
   5425       case OP_INVOKE_SUPER_QUICK:
   5426       case OP_INVOKE_SUPER_QUICK_RANGE:
   5427           failure = VERIFY_ERROR_GENERIC;
   5428           break;


See also /vm/analysis/RegisterMap.c, lines 2992-3016:

/vm/analysis/RegisterMap.c
   2992     /*
   2993      * See comments in analysis/CodeVerify.c re: why some of these are
   2994      * annoying to deal with. It's worse in this implementation, because
   2995      * we're not keeping any information about the classes held in each
   2996      * reference register.
   2997      *
   2998      * Handling most of these would require retaining the field/method
   2999      * reference info that we discarded when the instructions were
   3000      * quickened. This is feasible but not currently supported.
   3001      */
   3002     case OP_EXECUTE_INLINE:
   3003     case OP_EXECUTE_INLINE_RANGE:
   3004     case OP_INVOKE_DIRECT_EMPTY:
   3005     case OP_IGET_QUICK:
   3006     case OP_IGET_WIDE_QUICK:
   3007     case OP_IGET_OBJECT_QUICK:
   3008     case OP_IPUT_QUICK:
   3009     case OP_IPUT_WIDE_QUICK:
   3010     case OP_IPUT_OBJECT_QUICK:
   3011     case OP_INVOKE_VIRTUAL_QUICK:
   3012     case OP_INVOKE_VIRTUAL_QUICK_RANGE:
   3013     case OP_INVOKE_SUPER_QUICK:
   3014     case OP_INVOKE_SUPER_QUICK_RANGE:
   3015         dvmAbort();     // not implemented, shouldn't be here
   3016         break;



       226.    The accused dexopt process does not practice asserted claim 1 because it does not
generate new virtual machine instructions.

       227.    As explained above, Claim 1 specifically requires that the virtual machine
instruction be “generated,” which means that the virtual machine instructions does not have a
defined meaning or behavior before runtime.

       228.    Claim 1 specifically requires that the virtual machine instruction be “new,” which
reinforces the concept that the virtual machine instruction does not have any defined meaning or
behavior before runtime; it is new in the sense that it is just then – at runtime – first defined by
the code snippet in the cache.




                                                  64
      Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 12 of 15




       229.    There is no bytecode used in dexopt that is unassigned or without a defined
meaning before runtime. Every Dalvik bytecode either has a defined meaning and behavior
before runtime or remains unused and illegal.

       230.    There are some replacements of virtual machine instructions in dexopt akin to the
prior art use quick instructions. But the “generated” and “new” limitations of Claim 1 (on which
Claim 2 depends) are separate and distinct from Claim 2’s requirement of overwriting an existing
virtual machine instruction, and as such are not simply describing a replacement of virtual
machine instructions.

       231.    To be clear, OP_EXECUTE_INLINE_RANGE is just like any other bytecode
instruction – its behavior is pre-defined. It also is executed like other instructions – with fixed
native code instructions that are not encoded in a cache. (They may be in a static table, but so
are the native machine code for all of the other virtual machine instructions.) Unlike the ‘205
patent, dexopt cannot replace arbitrary sequences of code, it can only “quicken” the invocation of
the 15 functions identified in ¶ 415 of the Mitchell Patent Report. If those 15 functions aren’t
used, dexopt cannot use OP_EXECUTE_INLINE_RANGE.

       232.    The Mitchell Patent Report acknowledges this when noting in ¶ 420 that the new
bytecode does not directly point to any native instructions. The bytecode simply points to an
index table like all other bytecode instructions. Separately, a lookup (dispatch) routine must be
performed on the index table to identify relevant native code, which can then be executed.

       233.    In view of the foregoing, the accused dexopt process does not practice asserted
Claim 1 because it does not have a “new virtual machine instruction that represents or references
one or more native instructions.”

       234.    As noted above, dexopt generally runs at installation time, not run-time. Even
when it is run after installation time, the DEX file bytecode is only optimized (i.e., modified)
during the dexopt process, but it is not executed by dexopt.

       235.    In other words, the dexopt routine is not performed by the Dalvik virtual machine
running applications since that would interfere with its execution by allocating resources that are
difficult to release. (See dexopt.html.) Instead, dexopt prepares a DEX file for execution before
the Dalvik virtual machine is able run the installed code. In particular, dexopt starts, completes



                                                  65
      Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 13 of 15




the preparation of the DEX file, writes the ODEX, and exits all prior to execution of the
instructions being processed. (See dexopt.html.)

       236.    The accused dexopt process does not practice asserted claim 1 because there is no
“executing said new virtual machine instruction” as required in claim 1-c. The dex file bytecode
is optimized (i.e., modified) during the dexopt process, but it is not executed.

G.     Claim 2 of the ‘205 patent (Inline/dexopt Allegations)

       237.    Claim 2 of the ‘205 patent reads:

               The method of claim 1, further comprising overwriting a selected
               virtual machine instruction with a new virtual machine instruction,
               the new virtual machine instruction specifying execution of the at
               least one native machine instruction.
       238.    Google has not infringed claim 2 of the ‘205 patent because limitations of this
claim are not found in Android.

       239.    As explained above in ¶ Error! Reference source not found. –235, new
bytecode instructions in dexopt do not point to native code (they reference a look up table), nor
do they actually execute any native instructions, because none of the program bytecode is
executed in dexopt.

       240.    Further, as Claim 2 is a dependent claim, extending from independent Claim 1, it
is not infringed for the reasons stated above with respect to Claim 1, which are incorporated by
reference herein.

H.     Claim 3 of the ‘205 patent (Inline/dexopt Allegations)

       241.    Claim 3 of the ‘205 patent reads:

               The method of claim 2, wherein the new virtual instruction
               includes a pointer to the at least one native machine instruction.
       242.    Google has not infringed claim 3 of the ‘205 patent because limitations of this
claim are not found in Android.

       243.    As explained above in ¶ Error! Reference source not found. –235, new
bytecode instructions in dexopt do not point to native code (they reference a look up table).




                                                 66
      Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 14 of 15




       244.    The accused dexopt process does not practice asserted claim 3 because “the new
virtual machine instruction” does not “include[] ... at least one native machine instruction.”

       245.    Further, as Claim 3 is a dependent claim, extending from dependent Claim 2,
which extends from independent Claim 1, it is not infringed for the reasons stated above with
respect to Claims 1 and 2, which are incorporated by reference herein.

I.     Claim 8 of the ‘205 patent (Inline/dexopt Allegations)

       246.    Claim 8 of the ‘205 patent reads:

               [Preamble] In a computer system, a method for increasing the
               execution speed of virtual machine instructions, the method
               comprising:
               [8-a] inputting virtual machine instructions for a function;
               [8-b] compiling a portion of the function into at least one native
               machine instruction so that the function includes both virtual and
               native machine instruction;
               [8-c] representing said at least one native machine instruction with
               a new virtual machine instruction that is executed after the
               compiling of the function.
       247.    Google has not infringed Claim 8 of the ‘205 patent because limitations of this
claim are not found in Android.

       248.    Dr. Mitchell takes no position as to whether Claim 8 is literally infringed.

       249.    Dr. Mitchell takes no position as to whether Claim 8 is infringed under the
doctrine of equivalence.

J.     Other Observations

       250.    There are a few concepts that the Mitchell Patent Report attempts to equate with
the ‘205 patent:

           a. It claims that “[a]n important idea in the’205 patent is that some of the bytecodes
               associated with a function may be compiled.” Id. at ¶ 25. However, as discussed
               above, the concept of hybrid systems and just-in-time compiling of bytecode
               instructions has long been known and described in the prior art. See, e.g.,
               Exhibits K–Q.



                                                67
     Case 3:10-cv-03561-WHA Document 783-3 Filed 03/12/12 Page 15 of 15




Executed this 25th day of August, 2011.

       I declare that to the best of my knowledge the foregoing is true and correct as to the facts
stated and my opinions as expressed.



                                       ____________________________
                                       David I. August, Ph.D.
